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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

BROOKE SEGREST                                     )
                                                   )
                         Plaintiff,
                                                   )
v.                                                 )   Civil Case No.: 4:20-cv-00062
NATIONAL AVIATION SERVICES, LLC                    )
                                                   )
                         Defendant.                )


               DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE


          Defendant National Aviation Services, LLC, by and through the undersigned counsel,

hereby submits this Disclosure of Organizational Interests pursuant to Rule 7.1 of the Federal

Rules of Civil Procedure and U.S. District Court for the Eastern District of Missouri Local Rule

3-2.09:

          1.      National Aviation Services, LLC is a limited liability company.

          2.      National Aviation Services, LLC’s members and their respective state of

citizenship are: Scott Gibson, North Carolina and Jack McCown, Texas.

          3.      National Aviation Services, LLC is not a publicly-held company which does not

have publicly issued shares. No publicly held corporation owns more than ten percent or more of

National Aviation Services, LLC.




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                                                   Respectfully submitted,

                                                    /s/ Lauren M. Sobaski
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                                                   NATIONAL AVIATION SERVICES, LLC




                               CERTIFICATE OF SERVICE

       I hereby certify that on February 5, 2020, I electronically transmitted the foregoing
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrants (names only are sufficient):

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                                                   /s/ Lauren M. Sobaski
                                                   Lauren M. Sobaski
                                                   Attorney for Defendant




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